Case 3:09-cv-00298-N Document 1806 Filed 03/25/13                   Page 1 of 14 PageID 49126


                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

SECURITIES AND EXCHANGE                 §
COMMISSION,                             §
                                        §
Plaintiff,                              §
                                        §
v.                                      §                        Civil Action No.: 3:09-CV-0298-N
                                        §
STANFORD INTERNATIONAL                  §
BANK, LTD., et al.                      §
                                        §
Defendants,                             §
_______________________________________ §

        DEFENDANT ALLEN R. STANFORD’S RESPONSE IN OPPOSITION TO
           PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT

       Defendant Allen R. Stanford, by and through counsel, files his opposition to Plaintiff’s

Motion for Partial Summary Judgment.

I.     Introduction

       Mr. Stanford admits that he was convicted of various charges brought by the United

States of America in a criminal trial conducted in the Southern District of Texas. However, Mr.

Stanford rejects any suggestion that the criminal proceedings were fair in his case or that the

criminal conviction should collaterally estop him from challenging the evidence in this case.

II.    Collateral Estoppel and Use of Criminal Convictions

       To establish collateral estoppel under federal law, one must show: (1) that the issue at

stake be identical to the one involved in the prior litigation; (2) that the issue has been actually

litigated in the prior litigation; and (3) that the determination of the issue in the prior litigation

has been a critical and necessary part of the judgment in that earlier action. Rabo Agrifinance,

Inc. v. Terra XXI, Ltd., 583 F. 3d 348 (5th Cir. 2009) (citing Wehling v. CBS, 721 F.2d 506, 508

                                                  1
Case 3:09-cv-00298-N Document 1806 Filed 03/25/13                   Page 2 of 14 PageID 49127


(5th Cir.1983)). However, the doctrine of collateral estoppel cannot apply when the party against

whom the earlier decision is asserted did not have a "full and fair opportunity" to litigate that

issue in the earlier case. Montana v. United States, 440 U.S. 147, 153 (1979); Blonder-Tongue

Laboratories, Inc. v. University of Illinois Foundation, 402 U.S. 313, 328-29 (1971). A

“redetermination of the issues is warranted, if there is reason to doubt the quality, extensiveness,

or fairness of procedures followed in prior litigation." Montana v. United States, 440 U.S. at 164,

n. 11. (emphasis supplied). As set out below, there is reason to doubt the quality, extensiveness or

fairness of procedures following in the litigation.

       The SEC’s reliance on a district court case from Maryland is misplaced. SEC Brief at 15-

16, citing SEC v. Resnick, 604 F. Supp. 2d 773 (D. Md. 2009). In Resnick, the appellant Kaiser

sought to demonstrate that he lacked a “full and fair” opportunity to litigate his case. Resnick,

604 F. Supp. 2d at 781-82. According to the District Court, Kaiser was afforded “every

opportunity” to submit evidence and to call and cross-examine witnesses, and the “perceived

unfair events” that he deprived him of the opportunity to fully and fairly litigate his claim were

mere “procedural deficiencies,” namely, “(1) improper jury instructions, (2) incorrect evidentiary

rulings under Federal Rule of Evidence 404(b), and (3) improper admission of hearsay

statements.”

       In contrast, Mr. Stanford’s criminal case was filled with far more than mere “procedural

deficiencies.” Indeed, Mr. Stanford’s trial is riddled with multiple errors that either separately or

collectively deprived him of a fair trial. There are numerous pleadings from the Stanford trial

outlining the issues. Rather than “re-invent the wheel,” counsel incorporates Stanford’s Motion

for New Trial filed in the criminal case in its entirety as Exhibit A and will amplify some



                                                  2
Case 3:09-cv-00298-N Document 1806 Filed 03/25/13                            Page 3 of 14 PageID 49128


additional issues in the arguments set out below. Defendant's Motion for New Trial, 1 S.D. Tex.

Case No. 4:09-CR-00342, ECF No. 829.2 Unlike counsel for the Receiver, the undersigned

counsel has not been paid funds to represent his client. Accordingly, counsel requests the Court

allow incorporation of Mr. Stanford’s Motion for New Trial in the criminal case, with supporting

exhibits. Alternatively, counsel requests the Court grant funds to Mr. Stanford for defense of this

matter, and further grant leave to file a supplemental brief on his behalf.

        As set out in his Motion for New Trial, the following constitutional errors render his

conviction infirm for purposes of applying the doctrine of collateral estoppel.

    1. Stanford was deprived of his Sixth Amendment right to a fair trial because pre-trial
       publicity precluded the assembly of an impartial jury. [S.D. Tex. ECF No. 829 at 3-13]

    2. Stanford was deprived of his Sixth Amendment right to a fair trial because the intense
       publicity during the trial prevented the maintenance of an impartial jury if one had been
       impaneled. [Id. at 13-27].

    3. Stanford was deprived of his Sixth Amendment right to a fair trial because the court
       breached its obligation to put adequate safeguards in place to shield the jury from
       potential prejudicial publicity and Permitting live courtroom broadcasting. [Id. at 27-33].

    4. Stanford should have been granted a continuance after being restored to competence.
       Instead, he was forced to trial a month after regaining competence. [Id. at 33-52]

    5. Stanford was deprived of funds necessary to adequately defend himself. [Id. at 53-71].

Without comment, Judge Hittner entered an order denying the motion barely a day after this

extensive Motion for New Trial was filed. [S.D. Tex. ECF No. 837].




1 Counsel notes that some of the exhibits cited in the Motion for New Trial were filed under seal. Counsel requests
  additional time to obtain copies of these documents for the Court’s consideration.
2 This motion will refer to Docket Entries in the Criminal Matter, United States of America v. Stanford, Southern
  District of Texas Case 4:09-CR-00342, as “S.D. Tex. ECF No. ___”
                                                         3
Case 3:09-cv-00298-N Document 1806 Filed 03/25/13                    Page 4 of 14 PageID 49129


III.   The Criminal Conviction is Constitutionally Infirm and Cannot Form the Basis for
       a Finding by this Court that the Conviction Relieves the SEC of its Burden of Proof
       in This Case.

       Mr. Stanford requests the Court take judicial notice of the proceedings in the criminal

case. The pre-trial and trial proceedings were, to put it diplomatically, unusual and

unprecedented in several ways.

       A. Public Hatred Stoked by a Media Frenzy Deprived Mr. Stanford of a Fair Trial.

       As a threshold matter, there was almost unprecedented pre-trial publicity and a media

frenzy preceding the trial. Unrestrained pronouncements of Mr. Stanford’s guilt were made

almost every day by the press, by alleged victims, and by the Receiver in this case in various

pleadings and court statements. In contrast, Mr. Stanford, his lawyers and his family were gagged

“to protect the trial process.” [S.D. Tex. ECF No. 307] Judge David Hittner has a reputation for

especially harsh penalties for violations of his orders, including a potential visit to the local jail.

This counsel and counsel for Mr. Stanford observed the order to a fault despite the avalanche of

prejudicial publicity against Mr. Stanford. The reasons for the publicity must be placed in

context.

       In the instant case, Mr. Stanford was civilly charged barely four months after the Bernie

Madoff Scandal. The SEC scrambled to defend itself against Congress and the avalanche of

criticism that the SEC was inept and incompetent for failing to detect Madoff’s Ponzi scheme.

Madoff immediately confessed and pled guilty. This did not satisfy lawmakers and others with an

interest in showing themselves as being tough on white collar criminals. At times, the public and

Congressional reaction was akin to a lynch mob out to get Madoff, the SEC, or both.

       The SEC had investigated Mr. Stanford in the past, but had held off on filing suit because

of problems with jurisdiction. A report filed by the SEC's Office of the Inspector General found

                                                  4
Case 3:09-cv-00298-N Document 1806 Filed 03/25/13                  Page 5 of 14 PageID 49130


that “Immediately after the revelations of the Madoff Ponzi scheme became public in December

2008, the Stanford investigation became more urgent for the FWRO [The SEC's Fort Worth

Regional Office] …” SEC Office of Inspector General, Case No. OIG-516: Investigation of Fort

Worth Regional Office's Conduct of the Stanford Investigation at 10 (June 19, 2009). (Exhibit B).

As a result, the SEC dusted off years of investigative reports and reversed prior decisions not to

prosecute Mr. Stanford for lack of jurisdiction. A subsequent SEC Inspector General Report,

requested by Senators Richard Shelby and David Vitter, included the following testimony from

“IA Examiner 1”:

       I have a general recollection that our office, after the Madoff situation, said, hey,
       is there anything that we have any concern about that we haven’t done something
       about, and I believe Stanford was one of them. …
       And, so, we decided we need to pick this up and run with it and see if we can do
       something because, you know, the game has changed. The risk of losing is a
       whole lot less now. We -- we’re going to be punished more for not doing
       something than for doing something and ending up being unsuccessful or
       whatever.

SEC Office of Inspector General, Case No. OIG-526: Investigation of the SEC’s Response to

Concerns Regarding Robert Allen Stanford’s Alleged Ponzi Scheme at 127 (March 31, 2010)

(Exhibit C) (emphasis added). Mr. Stanford, viewed as a flamboyant offshore banker, was the

“answer” to their media problems.

       The media pilloried Stanford while the criminal court “gagged” him from responding to

any allegations. Indeed, on one occasion, the undersigned filed a brief with this Court and was

misquoted as having made a public statement to the media. Without so much as a phone call, an

inquiry, or a show cause order, the criminal judge immediately found counsel in contempt of the

gag order and prohibited any visits between counsel and Mr. Stanford at FDC Houston. [S.D.

Tex. ECF No. 510] Counsel immediately notified the Court of the Court’s error, and filed several
                                                5
Case 3:09-cv-00298-N Document 1806 Filed 03/25/13                  Page 6 of 14 PageID 49131


motions to set aside the preclusion order [S.D. Tex. ECF Nos. 520, 612] but no relief was granted

until the eve of the criminal trial. [S.D. Tex. ECF No. 646] At that time, the criminal trial judge

simply vacated the order without admitting error or recognizing that counsel did not violate his

order. Id.

IV.       The Inspector General’s Report on the SEC Investigation Revealed That the SEC
          Declined to Prosecute Mr. Stanford for Lack of Jurisdiction and Doubts About the
          Strength of their Case.

          The Inspector General of the SEC issued a scathing report that partially probed into the

periodic investigations of Stanford entities. There is and was a serious question as to whether the

CDs marketed were “securities” within the jurisdiction of the SEC. Exhibit C, SEC Investigative

Report OIG-526 at 39. The SEC declined to prosecute or pursue further investigation of Mr.

Stanford. Nevertheless, the SEC internally reversed its position that the CDs were not securities

to rehabilitate itself in the public eye in the wake of the Madoff scandal. Exhibit C, SEC

Investigative Report OIG-526. Charles Rawl, a key witness for the SEC testified before Congress

that the SEC conducted some investigation in mid-June, 2009, and then apparently dropped the

matter:

          The SEC was awakened when news of the Madoff Ponzi scheme broke in
          December 2008. Within days of Madoff’s arrest, the SEC contacted us in a
          panic, wanting to meet immediately after many months of silence. The SEC
          was so anxious at this point, they asked to meet over the Christmas weekend. We
          met with the SEC the first week of January 2009. At this point, the SEC expressed
          its concerns about lacking jurisdiction over the Antigua-based bank. We helped
          the SEC design the legal strategy to implicate the domestic U.S. broker-dealer in
          the offshore bank fraud.


Charles Rawl, Written Testimony, House Financial Services Subcommittee on Oversight &

Investigations Hearing: “The Stanford Ponzi Scheme: Lessons for Protecting Investors from the



                                                 6
Case 3:09-cv-00298-N Document 1806 Filed 03/25/13                  Page 7 of 14 PageID 49132


Next Securities Fraud” (May 13, 2011) (Exhibit D) (emphasis supplied) In sum, the SEC was in

a panic and scrambling to find a scapegoat to deflect criticism of the agency.

       A. Denial of Bail Denied Mr. Stanford a Fair Trial.

       Mr. Stanford was denied bail. Bail was essential in a white-collar criminal case that

involved millions of documents and a sequence of events dating back to the 1980s. The trial

judge denied bail to Mr. Stanford and repeatedly denied motions that would have allowed Mr.

Stanford to have access to the hundreds of thousands of documents necessary for him to

participate in reviewing documents in preparation for trial. [S.D. Tex. ECF Nos. 71, 175, 180,

203, 510]. Mr. Stanford was not a flight risk. Mr. Stanford repeatedly offered to surrender and

did, in fact, surrender immediately to the FBI upon indictment. Mr. Stanford wanted to defend

himself at trial because he believed he was innocent.

       There is no other reported federal prosecution in modern times where a criminal

defendant was denied bail in a white collar case where the defendant was not a danger to

society, had substantial business and personal ties to the community, and surrendered

himself to the authorities. An electronic leg bracelet, or security much like that given to Madoff

would have sufficed. The inability to freely meet with counsel and review the hundreds of

thousands of documents impaired Mr. Stanford’s ability to prepare for trial. Obviously, Mr.

Stanford would not have been subjected to Klonopin treatment if he had not been put in jail with

access limited to prison doctors.

       B. Mr. Stanford Was Forced To Trial Barely a Month After Being Restored to
          Competence.

       To assist his attorneys at trial, Mr. Stanford had to remember or, at least, be in a position

to review hundreds of transactions in an effort to recall events dating back decades in order to

take the stand and testify in his own defense. That was impossible under the circumstances of
                                                 7
Case 3:09-cv-00298-N Document 1806 Filed 03/25/13                             Page 8 of 14 PageID 49133


this case, where it would have taken a fully competent and capable defendant months to review

the documents with counsel. As Dr. Pollock testified, “Mr. Stanford would have a very difficult

time assisting an attorney with preparing for a trial … he is not able to sustain concentration,

focus, and attention on one topic and stay relevant long enough to even conduct a good clinical

interview.” Testimony of Dr. Pollock, Dec. 20, 2011 [S.D. Tex. ECF No. 834 at 1-218] (Exhibit

E). Both Dr. Lilly3 and Dr. Scarano4 testified that Mr. Stanford would be unable to assist his

lawyers in preparing his defense in a complex fraud case.

        Dr. Axelrad testified that:

        But as a general rule, if you have a patient who is moderately impaired or severely
        impaired in more than four or five areas -- and there are 13 areas in the report –
        then generally that implies that the person's mental disorder, if it's serious, would
        render him incompetent to stand trial.
        And if you go through my -- the checklist and you look at my report, you will find
        that he is moderately to severely impaired in a number of areas that would be
        required to assist counsel in defending himself.
Testimony of Dr. Axelrad, Dec. 22, 2011 [S.D. Tex. ECF No. 836 at 3-48] (Exhibit H).

        The trial started on January barely a month after Stanford was found to have been

restored to competence. Mr. Stanford was incompetent for a substantial period of time after

prescribed and addicted to Klonopin in the months leading up to trial, during which he was not

able to communicate with his defense attorneys or to competently assist them in pre-trial

preparations, selection of exhibits and identification of potential witnesses. In a case of this


3 “Q Do you feel like Mr. Stanford is able to assist his lawyers in preparing his defense in a complex fraud case?
  A No, he is not, sir.
  Q Do you think he would be -- recover enough in the next month or two that he would be able to assist his
  lawyers in preparing for his defense?
  A I can't say for sure but I would have some doubt about that.
  Q But not at this time?
  A That's correct.”
  Testimony of Dr. Lilly, Dec. 21, 2011 [S.D. Tex. ECF No. 835 at 2-31—2-32 ] (Exhibit F)
4 “Q Will he be able to assist his counsel should he go to trial today?
  A No.”
  Testimony of Dr. Scarano, Dec. 21, 2011 [S.D. Tex. ECF No. 835 at 2-140] (Exhibit G)
                                                         8
Case 3:09-cv-00298-N Document 1806 Filed 03/25/13                  Page 9 of 14 PageID 49134


magnitude, the number of exhibits and witnesses, and the sheer complexity of the facts spanning

more than a decade, no court has forced a defendant in a criminal case to trial who has just

returned from an eight-month hospitalization for treatment of loss of memory and loss of

cognitive ability. Even the Government prosecutor supported a brief continuance for the

defendant; yet, the trial judge denied any time to allow Mr. Stanford to participate in preparing

for his case. [S.D. Tex. ECF Nos. 562, 566 at 15]

       As if the dilemma of representing an incompetent client was not enough, further disaster

befell the defense team in two ways: (1) an essential member of the team, the lawyer-computer

coordinator in charge of the electronic documents during pre-trial preparation and trial, became

seriously ill immediately prior to trial and was hospitalized; and (2) the Fifth Circuit denied

counsel the fees necessary to take the case to trial [S.D. Tex. ECF Nos. 572-574].

       The effect of denial of fees on expert witnesses being told that they are not going to be

paid for their efforts and ordered to work for free through trial was devastating to any defense

team effort. At the very least, the order undermined the experts’ enthusiasm and, at the very least,

created an irreconcilable conflict between the expert and the defendant facing criminal charges.

Unlike attorneys, who have a constitutional duty to provide an effective defense to their clients,

forensic accountants and litigation support companies and personnel are not required to work for

free. The denial of fees to the experts and support personnel immediately prior to trial were

severely prejudicial to the defense.

       The criminal defense attorneys appointed to represent Mr. Stanford were experienced

criminal lawyers who were hamstrung by the fact that they were representing a client who was

adjudged legally incompetent and being treated in North Carolina. They timely requested a

continuance from Judge Hittner on the basis that they could not perform their constitutional

                                                 9
Case 3:09-cv-00298-N Document 1806 Filed 03/25/13                 Page 10 of 14 PageID 49135


duties to provide Mr. Stanford with effective assistance of counsel under the Sixth Amendment

where (1) he was being forced to trial after barely being restored to competence, (2) their experts

were not going to be adequately compensated, and (3) their client did not have a meaningful

opportunity to participate in pre-trial preparation and did not have the ability or the time

necessary to prepare to testify at trial [S.D. Tex. ECF No. 552, 564]. The motion was denied by

the judge, the trial went forward, and Mr. Stanford was convicted.

V.     Stanford Had No Access to Funds for His Defense in the SEC Case.

       After periodic funding from Lloyds’ of London, Judge Atlas ruled that he was not entitled

to funding under the policy. The SEC refused to allow any funding for Mr. Stanford’s civil

defense and his representation has been limited to one lawyer willing to represent him without an

assured source of funding. While the papers and media blamed Mr. Stanford for a succession of

lawyers, the real reason for the revolving door of lawyers was funding, and the fact that the

lawyers could not secure sustained funding from Lloyds' of London.

       Both the Receiver’s and the SEC’s efforts were fully funded. Thus, between the SEC, the

Receiver, and the Government, Mr. Stanford’s defense was massively out-manned and out-spent.

Counsel requested funds to pay Mr. Stanford’s experts from this Court when it became apparent

that the Fifth Circuit would not pay the experts in the criminal case. However, that request was

denied. The burden was placed squarely on Mr. Stanford to show that he had funds that were not

part of the alleged fraud. It was impossible for Mr. Stanford to prove a negative proposition when

he had no funds in a case involving international transactions with numerous companies located

overseas and an unpaid lawyer. The inability to obtain limited funding to investigate and

represent Mr. Stanford on the issue of defense funding, such as retaining an expert witness, funds



                                                10
Case 3:09-cv-00298-N Document 1806 Filed 03/25/13                               Page 11 of 14 PageID 49136


to interview witnesses, cannot be overlooked as part of an overall picture of a one-sided parallel

prosecution of Mr. Stanford by the SEC and the United States Department of Justice.

         As the Court may recall, the Receiver’s expert forensic accountant, Karyl Van Tassel,

failed to conduct any investigation of the Antiguan companies and simply assumed that they

were all part of a fraud. The forensic accountant’s assumptions about the Island Club being a

fraud were simply unfounded. She admitted that she did not conduct any investigation to

determine the value of the Islands Club project. Indeed, hundreds of millions were invested in

the Islands Club with real improvements to valuable Antiguan real estate including a power

plant, desalinization plant and architectural and other infrastructure supporting a multi-billion

investment. Neither the Government, the Receiver nor the SEC knew or cared to know about the

Islands Club. The value of the developed real estate itself negated the proposition that the

investors were defrauded. The return on investment from the Islands Club would have been

measured in the billions.5

         In Janvey v. Alguire, the Receiver moved for summary judgment. Mr. Stanford

incorporates as Exhibit I the Expert Report of Alton Davis. [N.D. Tex. Case No. 3:09-0724, ECF

No. 703-1]. In that report, Mr. Davis set out an analysis of the Islands Club and other issues that

should have been, but were not conducted by the Receiver’s expert witness. Mr. Davis concluded

that Ms. Van Tassel’s conclusion that SIB was insolvent was “ill-founded,” “critically flawed,”

and that Stanford International Bank was solvent at the time of the SEC takeover. Id. at 5, 6 &

18.


5 Ironically, while the Receiver turned a blind eye to the value of the property for purposes of litigating liability in
the receivership, the Receiver feuded and fought turf wars with the Conservator appointed in Antigua, wasting
precious time and resources when he should have cooperated with the authority appointed in Antigua to protect
property located in Antigua. As a result, hundreds of millions of dollars have been lost to the receivership estate. It
remains to be seen whether the new working relationship with the Antiguan liquidator will show any benefit to
claimants.
                                                          11
Case 3:09-cv-00298-N Document 1806 Filed 03/25/13                     Page 12 of 14 PageID 49137


        IV.     Conclusion

        Neither the Government nor the Receiver appreciated, or cared to analyze the Antiguan

businesses and, as a result, forged ahead in a parallel prosecution without a full understanding of

the facts. The resulting criminal prosecution was initiated without the facts and pursued for the

wrong reasons.

        But for the Madoff case, and the need for a scapegoat, the SEC would have probably not

prosecuted Mr. Stanford and certainly would have allowed him to try and resolve their

allegations without a costly receivership and wholesale liquidation of assets that have only

enriched the Receiver’s lawyers to the loss of claimants.

        In the last analysis, the United States Constitution and Bill of Rights are designed to

protect the life and liberty of individuals accused of criminal offenses. When an individual is

accused of a criminal offense and faces over a hundred years of imprisonment---essentially a life

sentence---the courts must take every step necessary to ensure that a defendant whose memory

and mental health was destroyed by government over-medication, is adequately prepared to

proceed to trial. In the instant case, it is objectively difficult to conclude that a trial had to be held

barely a month after Mr. Stanford was restored to competence. Indeed, the Court could have set

the trials of the co-defendants before setting the trial of Mr. Stanford. Instead, Mr. Stanford was

forced to trial before he was restored to competence, before he could competently review the

evidence against him and before he could assist his lawyers before and during trial. Combined

with the pre-trial and publicity during trial, Stanford was deprived of a fair trial.

        Mr. Stanford respectfully submits that the criminal judgment cannot be used as a source

of authority to establish liability in this case, because his criminal conviction was obtained in

violation of the United States Constitution.

                                                   12
Case 3:09-cv-00298-N Document 1806 Filed 03/25/13                 Page 13 of 14 PageID 49138


       Accordingly, R. Allen Stanford requests the Court deny the Receiver’s Motion for Partial

Summary Judgment.

                                                     Very respectfully,


                                                     _/s/Stephen R. Cochell
                                                     Stephen R. Cochell
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                                CERTIFICATE OF SERVICE



I hereby certify that this document filed through the ECF system will be sent electronically to the
registered participants as identified on the Notice of Electronic on March 25, 2013.



                                                     /s/ Stephen R. Cochell




                                                13
Case 3:09-cv-00298-N Document 1806 Filed 03/25/13              Page 14 of 14 PageID 49139


                                      Index of Exhibits
Exhibit A: Defendant’s Motion for New Trial, S.D. Tex. ECF No. 829, with Exhibits:

       Exhibit A, Appendix 1: Exhibit E
       Exhibit A, Appendix 2: Exhibit I
       Exhibit A, Appendix 3: Exhibit K
       Exhibit A, Appendix 4: Exhibit L
       Exhibit A, Appendix 5: Exhibit M
Exhibit B: SEC Office of Inspector General, Case No. OIG-516: Investigation of Fort Worth
Regional Office's Conduct of the Stanford Investigation (June 19, 2009).
Exhibit C: SEC Office of Inspector General, Case No. OIG-526: Investigation of the SEC’s
Response to Concerns Regarding Robert Allen Stanford’s Alleged Ponzi Scheme (March 31,
2010).
Exhibit D: Charles Rawl, Written Testimony, House Financial Services Subcommittee on
Oversight & Investigations Hearing: “The Stanford Ponzi Scheme: Lessons for Protecting
Investors from the Next Securities Fraud” (May 13, 2011).
Exhibit E: Extract of Testimony of Dr. Richard Pollock, Dec. 20, 2011, S.D. Tex. ECF No. 834.
Exhibit F: Extract of Testimony of Dr. Ralph Lilly, Dec. 21, 2011, S.D. Tex. ECF No. 835.
Exhibit G: Extract of Testimony of Dr. Victor Scarano, Dec. 21, 2011 S.D. Tex. ECF No. 835.
Exhibit H: Extract of Testimony of Dr. Allan Axelrad, Dec. 22, 2012, S.D. Tex. ECF No. 836.
Exhibit I: Expert report of Alton Davis, Docket No. 703-1, N.D. Tex. Case No. 3:09-CV-00724-
N.




                                              14
